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                        UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF FLORIDA
                            FORT PIERCE DIVISION
                         CASE NO. 13-14046-CR-GRAHAM

  UNITED STATES OF AMERICA

                     Plaintiff,

  vs.

 TOMALEESHA JEFFIE LAQUA MCKELIVER,

                 Defendant.
 ________________________________/

        ORDER ADOPTING MAGISTRATE'S REPORT AND RECOMMENDATION

         THIS CAUSE came before the Court upon the Defendant’s
 request to enter a plea of guilty before a Magistrate Judge.
        THE MATTER was referred to Magistrate Judge Frank J. Lynch, on
 September 11, 2013. A Report and Recommendation filed on September
 18,    2013   recommended   that   the    Defendant’s     plea   of   guilty    be
 accepted.     The   Defendant    and   the   Government   were   afforded      the
 opportunity to file objections to the Report and Recommendation,
 however, none were filed. The Court has conducted a de novo review
 of the entire file. Accordingly, it is
          ORDERED AND ADJUDGED that the Report and Recommendation of
 United States Magistrate Judge Frank J. Lynch, is hereby Adopted
 and Approved in its entirety. The Defendant is adjudged guilty as
 to Counts One and Two of the Indictment.
         DONE AND ORDERED in Chambers at Miami, Florida, this 24th
 day of September, 2013.



                                          ____________________________
                                          DONALD L. GRAHAM
                                          UNITED STATES DISTRICT JUDGE
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 Copied: Magistrate Judge Frank J. Lynch
         Carmen Lineberger, AUSA
         Wilbur Chaney, Esq.
